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Attorneys for Boy Scouts of America

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

JOHN DOES I-XIX, and JOHN ELLIOTT,
Case No. 1:13-cv-00275-BLW
Plaintiff,
STIPULATION FOR DISMISSAL WITH
VS. PREJUDICE OF JOHN DOE II

BOY SCOUTS OF AMERICA, a
congressionally chartered corporation
authorized to do business in Idaho;
CORPORATION OF THE PRESIDING
BISHOP OF THE CHURCH OF JESUS
CHRIST OF LATTER-DAY SAINTS, a
foreign corporation sole registered to do
business in Idaho; and CORPORATION OF
THE PRESIDENT OF THE CHURCH OF
JESUS CHRIST OF LATTER-DAY SAINTS
AND SUCCESSORS, a foreign corporation
registered to do business in Idaho,

Defendants.

 

 

STIPULATION FOR DISMISSAL WITH PREJUDICE OF JOHN DOE II - 1
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COME NOW the Plaintiff, John Doe II, and Defendants Boy Scouts of America,
Corporation of the Presiding Bishop of The Church of Jesus Christ of Latter-day Saints and
Corporation of the President of The Church of Jesus Christ of Latter-day Saints, by and through
their attorneys of record, and hereby stipulate and agree that the above-entitled action by John
Doe II, including all claims that were or might have been brought, is to be dismissed with
prejudice, with each party to bear his/its own respective costs and fees.

DATED THIS 15 __ day of December, 2018.
CHASAN & WALTON, LLC

LSA,

” Andre M. C HM, Chast "OF the Fi Ct,
Attorneys for KM Chass

 
 
 

DATED THIS 14 day of December, 2018.

ANDERSON SCHWARTZMAN WOODARD
BRAILSFORD, PLLC

 

 

Wade L. Woodard — Of the Firm

Attorneys for Defendant Corporation of the
Presiding Bishop of The Church of Jesus Christ
of Latter-day Saints and Defendant Corporation
of the President of The Church of Jesus Christ
of Latter-day Saints and Successors

STIPULATION FOR DISMISSAL WITH PREJUDICE OF JOHN DOE II - 2
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Case 1:13-cv-00275-BLW Document 351 Filed 12/13/18 Page 3 of 4

DATED THIS ( ) day of December, 2018.
HAWLEY TROXELL ENNIS & HAWLEY LLP

By

 

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Stephen R. Thomas — Of the Firm
Atto s for Boy Scouts of America

STIPULATION FOR DISMISSAL WITH PREJUDICE OF JOHN DOE II - 3
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 13" day of December, 2018, I electronically filed the
foregoing STIPULATION FOR DISMISSAL WITH PREJUDICE OF JOHN DOE II with the
Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to the
following persons:

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Corporation of the President of The Church of
Jesus Christ of Latter-day Saints and
Successors

/s/ Stephen R. Thomas
Stephen R. Thomas

STIPULATION FOR DISMISSAL WITH PREJUDICE OF JOHN DOE II - 4
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